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                                                       March 3, 2022
 VIA ECF
 Honorable Lorna G. Schofield
 United States District Judge
 Southern District of New York
 500 Pearl Street
 New York, New York 10007

 Re:    Henao et al. v. Parts Authority, LLC et al., No. 19-cv-10720 (LGS) (BCM)
        Request For Judicial Approval of FLSA Settlements

 Dear Judge Schofield,

         Plaintiffs now submit this letter jointly with Defendants to respectfully request expeditious
 judicial approval of the Settlement Agreements and Releases of Plaintiffs attached as Exhibits 1
 through 8 pursuant to Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199, 206 (2d Cir. 2015).
 The settlement agreements are in the form previously approved by the Court as fair and reasonable
 for other opt-in plaintiffs in this action (ECF No. 192) and we respectfully request that the Court
 approve the settlements and dismiss the remaining Named Plaintiffs’ and Opt-In Plaintiffs’
 (collectively “Plaintiffs”) claims with prejudice. Such an approval would bring resolution to the
 case.

        The chart below lists the settlements amounts.

                                                                      Attorney Fees
     Plaintiff          Named or Opt-In            Gross Amount        and Costs          Amount to Client
 Davidson Henao                Named                 $8,187.50          $3,187.50           $5,000.00
  Miguel Mero                  Named                 $8,187.50          $3,187.50           $5,000.00
 Rasheem Martin                Named                 $8,187.50          $3,187.50           $5,000.00
 Shawn Williams                Named                $10,687.50          $3,187.50           $7,500.00
Omobowale Avoseh               Named                 $9,187.50          $3,187.50           $6,000.00
   Ralph Brea          Opt-In of Nov. 5, 2020        $9,187.50          $3,187.50           $6,000.00
Martin Williams Jr.    Opt-In of Nov. 5, 2020        $8,187.50          $3,187.50           $5,000.00
 Maurice Headd         Opt-In of Sept. 9, 2021       $8,187.50          $3,337.50           $4,850.00


 I.     Background And Procedural History.

        Plaintiffs Henao and Mero filed this case on November 19, 2019, and all Plaintiffs
 subsequently filed a Third Amended Complaint on October 30, 2020. Opt-In Plaintiffs Brea 1 and

 1
  Opt-In Plaintiff Ralph Brea is also a putative class member of the uncertified New York Class
 Action pursuant to the New York Labor Law (“NYLL”).
Martin Williams Jr. 2 filed their consent to become party plaintiffs for claims against Defendants
pursuant to the Fair Labor Standards Act (FLSA) on November 5, 2020 and Opt-In Plaintiff Headd
did the same on Sept. 9, 2021. Defendants Michigan Logistics, Northeast Logistics, Parts
Authority Inc., Parts Authority, LLC, and Yaron Rosenthal filed Answers to the Third Amended
Complaint on November 13, 2020, and Defendant Larry Browne filed his Answer on July 16,
2021.

       Plaintiffs allege they delivered parts for Parts Authority as delivery drivers and
were misclassified by Defendants as independent contractors The chart below lists the approximate
durations and locations they claim to have worked.

                       Approx. Time
        Name           Period Worked            Location of Parts Authority Store Worked
                                              8940 Metropolitan Avenue, Rego Park, New York,
                                             11374 and 211-10 Hillside Avenue, Queens Village,
    Davidson Henao     8 months in 2016                      New York, 11427
                                              8940 Metropolitan Avenue, Rego Park, New York,
     Miguel Mero       6 months in 2016                           11374
                       June to December
    Rasheem Martin           2017                11 Farber Drive, Bellport, New York, 11713
                                              6105 Greenbelt Road, Berwyn Heights, Maryland,
                                                20740; 2431 Crofton Lane, Crofton, Maryland,
                                              21114; 9731 Washington Blvd., Laurel, Maryland,
                                               20723; 485 South Stonestreet Avenue, Rockville,
                                             Maryland, 20850; 4964 Wyaconda Road, Rockville,
                                                 Maryland, 20852; 5001 Kenilworth Avenue,
                                              Hyattsville, Maryland, 20781; 6335 Chillum Place
                      March 2014 to June     NW, Washington, DC, 20011; and 2901 Minnesota
    Shawn Williams          2019                     Avenue SE, Washington, DC, 20019
                                             9156 Gaither Road, Gaithersburg, Maryland, 20877,
     Omobowale        December 2017 to         and 4964 Wyaconda Road, Rockville, Maryland,
      Avoseh              June 2018                                20852
                         February to
      Ralph Brea        October 2015           39-01 170th Street, Flushing, New York 11358.
                                              2901 Minnesota Avenue, Washington, DC 20019;
    Martin Williams     August 2017 to        and 4964 Wyanconda Road, Rockville, Maryland
          Jr.            August 2018                                20852
    Maurice Headd        2018 to 2019               Marietta, Georgia and Roslyn, Georgia


       Plaintiffs allege that they were misclassified as independent contractors and therefore
denied overtime and paid effective wages below the minimum. Defendants deny any improper or


2
 Opt-In Plaintiff Martin Williams is also a putative class member of the Multi-State Class Action
pursuant to Maryland Wage and Hour Law (“MWHL”).
                                                2
unlawful conduct with respect to Plaintiffs. Defendants further deny the existence of any
employment or other relationship with Plaintiffs and deny any fault or liability with respect to their
claims.

        On February 2, 2021, the parties engaged in a mediation before Hon. Judge Frank Maas
(Ret.), beginning arm’s-length settlement negotiations which eventually led to the resolution of
Plaintiffs’ claims. The terms and conditions reflected in the Settlement Agreements and Releases
are the product of the Parties’ negotiations and represent a fair and reasonable compromise of a
bona fide dispute.

II.       The Court Should Approve The Parties’ Settlements And Plaintiffs’ Releases.

            It is now “well-settled that an employee may waive a FLSA claim for unpaid wages or
    overtime pursuant to a judicially-supervised stipulated settlement.” See Medley v. Am. Cancer
    Soc., No. 10-cv-3214, 2010 WL 3000028, at *1 (S.D.N.Y. July 23, 2010) (citing Lynn’s Food
    Stores, Inc. v. U.S. By & Through U.S. Dep’t of Labor, Employment Stds. Admin., Wage and Hour
    Div., 679 F.2d 1350, 1353 (11th Cir. 1982)).

            A FLSA settlement should be approved where it is “fair and reasonable.” Kassman v.
    KPMG LLP, No. 11-3743, 2021 WL 1393296, at *2 (S.D.N.Y. Apr. 12, 2021) (Schofield, J.)
    (quoting Cheeks, 796 F.3d at 201). To determine whether a FLSA settlement is fair and
    reasonable, the Court may consider: (1) the Plaintiff’s range of possible recovery; (2) the extent
    to which the settlement will enable the parties to avoid anticipated burdens and expenses in
    establishing their respective claims and defenses; (3) the seriousness of the litigation risks faced
    by the parties; (4) whether the settlement agreement is the product of arm’s-length bargaining
    between experienced counsel; and (5) the possibility of fraud or collusion. Id.

             First, Plaintiffs’ range of recovery in this case is the subject of some speculation.
    Defendants claim to have no work records applicable to Plaintiffs. Plaintiff Avoseh and Opt-In
    Plaintiff Martin Williams, Jr. located paystubs issued by third parties, but nothing further.
    Defendants contend that Plaintiffs were not their employees and thus not entitled to
    reimbursement of vehicle costs, and that even if Plaintiffs had performed work for them, the
    compensation they received for that work adequately covered vehicle expenses, and that such
    compensation satisfied the minimum wage and they thus have no damages. See, e.g., Oliveira v.
    Parts Authority, LLC, AAA No. 01-19-0001-1957 (Arbitrator Berger Mar. 23, 2020) (finding no
    liability in a related arbitration of a similarly-situated delivery driver).

           The settlements are appropriately priced given Plaintiffs’ counsel’s tentative recovery
    estimations. The proposed settlement amounts range from 36 percent to 92 percent of the
    estimated recovery for each plaintiff. 3 The chart below demonstrates the percentages.


3
  Messrs Mero, Martin, Avoseh and Brea either sat for deposition or prepared for deposition. Cf.
In re AOL Time Warner ERISA Litigation, No. 02-8853, 2007 WL 3145111 at *3 (S.D.N.Y. 2007)
(“An incentive award that compensates the Named Plaintiffs for the time they spent sitting for
depositions, plus reasonable deposition preparation time, creates less of a disparity among class
members while still rewarding the Named Plaintiffs for their efforts.”).
                                                    3
                                                             Estimated
                  Plaintiff            Gross Amount          Recovery             Percentage
              Davidson Henao             $8,187.50            $12,000                68%
               Miguel Mero               $8,187.50            $10,000                82%
              Rasheem Martin             $8,187.50            $10,000                82%
              Shawn Williams            $10,687.50            $30,000                36%
             Omobowale Avoseh            $9,187.50            $10,000                92%
                Ralph Brea               $9,187.50            $12,000                77%
             Martin Williams Jr.         $8,187.50            $14,000                58%
              Maurice Headd              $8,187.50            $20,000                41%

            Accordingly, settlements for the above amounts are a fair compromise, given the risk of
    non-recovery. See Kassman, No. 11-3743, 2021 WL 1393296, at *6-7 (noting that settlement
    amount of twenty percent of potential damages is within the range of approval in this District,
    collecting cases).

             Second, these settlements avoid substantial burden and expense. Plaintiffs instructed their
    counsel that they wish to receive a settlement payment as soon as possible, instead of continuing
    to litigate for unknown lengths of time. These settlements save time and expense including in
    travel costs and expert witness costs, not to mention legal fees for both parties. If Plaintiffs were
    to continue on to litigate, the next couple of months alone would prove costly and time consuming
    as some Plaintiffs would be required to complete depositions which might include travel costs.
    As the case proceeds, the parties continue to accrue great expense.

            Third, the litigation risks are substantial. Plaintiffs risk loss of collective certification, or
    ineffective conditional certification (even if granted) given that Defendants deny having any
    record of members of the proposed class. Moreover, several related arbitration cases have gone
    to verdict, with Defendants prevailing in several cases. The arbitrations have been quite
    protracted (for example, Maurice Johnson, a similarly-situated delivery driver, filed his case in
    2016, received a partial final award in his favor on August 20, 2021, and has still not received a
    final award). Thus, settlement in this instance allows Plaintiffs to reduce their risk -- including
    the risk of non-payment or non-recovery -- and allows Defendants to reduce exposure as well.

           Fourth, the record in this case makes clear that both parties benefited from the zealous
    advocacy of their attorneys from the beginning of this case and at every step along the way. 4 That
    same zeal carried over into the negotiation of the appended Settlement Agreement and Releases.



4
 Plaintiffs’ counsel seeks attorneys’ fees of thirty-five percent of the settlement amount and costs,
as is standard in this District. See, e.g., Kassman, 2021 WL 1393296, at *4 (approving fees of
35% in a FLSA case, collecting cases, and noting that fees of below 37.5% are “within the range
of fee awards that courts in this District have approved”). The attorneys’ fees and costs here total
$25,650.00 though the lodestar amounts to approximately $460,000 and Plaintiffs’ counsel’s costs
are approximately $15,000.


                                                       4
    There is no doubt that it is the product of arm’s-length negotiations.

           Fifth, there is nothing to suggest the presence of fraud or collusion.

           For these reasons, the parties respectfully request that the Court find that the parties’
    Settlement Agreements and Releases are fair and reasonable. 5

III.      Conclusion

            Because the Settlement Agreements and Releases are fair and reasonable, the parties
    respectfully request that the Court approve the signed Settlement Agreements and Releases,
    attached as Exhibits 1 through 8. In the event that the Court has any questions regarding the
    parties’ agreement or if the Court requires any additional information regarding the settlement,
    counsel for the parties are happy to make themselves available for a telephone or in-person
    conference at the Court’s convenience. We thank Your Honor for your time and attention to this
    application and the above matter.


                                                         Respectfully Submitted,

                                                         By: /s/Jeremiah Frei-Pearson
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                                                         Counsel for Plaintiffs
                                                         and the Putative Classes

Attachments

cc: All Counsel of Record (via ECF and email)



5
    Attached as Exhibit 9 is a proposed order for the Court’s convenience.
                                                    5
